Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 1 of 13

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FILE no: 2020: | l4-C

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IN

CIRCUIT COURT

WAYNE COUNTY, MISSISSIPPI

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Docket No. Pee N Gian

DAWA AM -AWedl
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Attorney__ Plaintiff—

Attorney___ Defendant__

LAWRENCE- 07402
Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 2 of 13

1 General Docket, Civil Cases, Circuit Court, Wayne County Circuit Court
No. CV-2020-114-c CFN 5757
HINTON, SHELTON Counsel for Plaintiff
Vs. DANIEL M. WAIDE

Counsel for Defendant
WAYNE COUNTY,MS; SHERIFF JODY ASHLEY

CIVIL RIGHTS © JUDGE Charles W. Wright, Jr.
DATE ORDERS, JUDGMENTS, ETC. BK/PG

8/10/2020 COVER SHEET

8/10/2020 COMPLAINT

8/10/2020 SUMMONS ISSUED TO JODY ASHLEY
RETURNED TO ATTORNEY FOR PROCESS

8/10/2020 SUMMONS ISSUED TO WAYNE COUNTY, MS
RETURNED TO ATTORNEY FOR PROCESS
Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 3 of 13

IN THE CIRCUIT COURT OF WAYNE COUNTY, MISSISSIPPI

SHELTON HINTON , PLAINTIFF
VERSUS Mh ee CAUSE no: \l-2020- | \Y- C

WAYNE COUNTY, MISSISSIPPI and
SHERIFF JODY ASHLEY in his individual and
Official capacity DEFENDANTS

JURY TRIAL DEMANDED

COMPLAINT

COMES NOW, Shelton Hinton, hereinafter “Hinton,” by and through undersigned
counsel, and makes this, his Complaint against named Defendants, and would show unto the Court
the following, to wit:

PARTIES

1. Plaintiff is a resident citizen of Wayne County, Mississippi who may be contacted through
undersigned counsel.

2. Defendant Wayne County is a governmental entity organized and authorized by the laws of
the State of Mississippi who may be served with process through its Chancery Clerk at 609
Azalea Drive, Waynesboro, Mississippi, 39367.

3. Defendant, Jody Ashley is sheriff of Wayne County, Mississippi who may be served with
process at 613 Court Street, Waynesboro, Mississippi, 39367.

JURISDICTION AND VENUE
4. Venue is proper pursuant to Miss. Code Ann. § 11-11-3 because substantial acts and
omissions which caused the injury occurred in Wayne County, Mississippi, and because
the action against governmental entities must be commenced in the county where the

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10.

11.

12.

entities are located. The misconduct complained of herein arose in Wayne County,
Mississippi. Jurisdiction of the parties and of the subject matter of this action are proper in
this Court.

This action is authorized by 42 U.S.C. § 1983 and made pursuant to the 4" and 14"

Amendments to the United States Constitution.
FACTUAL ALLEGATIONS

On or about September 20, 2018 Sheriff Ashely signed an affidavit claiming that Shelton
Hinton was mentally ill and in need of treatment. These allegations are false and Sheriff
Ashley did not personally know Hinton. Exhibit A, Ashley Affidavit.

Sheriff Ashely swore under oath that he was Hinton’s nearest relative to convince a court
to have Hinton committed for a mental illness. These allegations are false.

As a result of Sheriff Ashley’s false affidavit, Hinton was arrested and confined at the
Wayne County Jail.

At a hearing on the matter Sheriff Ashely admitted that he had no first-hand knowledge
regarding any of the facts alleged in his affidavit which led to the arrest and confinement
of Hinton.

As sheriff, Jody Ashley knows that an affidavit must be based upon personal knowledge.
Sheriff Ashley’s actions caused the unlawful arrest and confinement of Hinton. The
sheriff's actions further resulted in the negligent and intentional infliction of emotional

distress on Hinton.

ALLEGATIONS OF LAW

Plaintiff incorporates by reference each of the preceding paragraphs as if they had been
fully restated herein.

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13. All acts of the Defendants were under the color and pretenses of the ordinances, policies,
practices, customs, regulations, usages and/or statutes of the United States Government,
the State of Mississippi and Wayne County.

14. It is the custom and policy of all Defendants to violate the constitutional rights of
individuals in Wayne County, as complained of herein.

15, It is the policy and practice of the Defendants to violate the civil rights of, in and around
the area of Waynesboro, Mississippi where the unlawful search and seizure occurred.

16. Defendants’ actions were in bad faith and were intended and designed to punish Plaintiff.

17. At all times relevant to this action, Plaintiff's rights were clearly established. At all times
relevant to this action, Defendants violated Plaintiff's constitutional rights.

18. Defendant Ashley is a final policy maker for Wayne County, Mississippi.

19. Defendants’ actions evidence malice and/or constitute willful misconduct.

20. As a result of Defendants’ actions, Plaintiff has suffered humiliation, embarrassment, loss

of reputation and had their liberty and privacy interests severely impacted.

FIRST CAUSE OF ACTION — 42 U.S.C. § 1983
Fourteenth Amendment — Unlawful Seizure; Deprivation of Due Process/Equal Protection

21. Plaintiff incorporates by reference each of the preceding paragraphs as if they had been
fully restated herein.

22. The unlawful actions of the Defendants, as alleged herein, constituted an intrusion into
Plaintiffs’ right to be free from an unlawful seizure of his person and property.

23. Defendants had an affirmative duty to prevent such intrusions.

24. Defendants, acting without authority, knowingly conducted an illegal seizure.

25. Plaintiff has an established constitutional right to be free from an unlawful seizure.

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26. As a direct and proximate cause of Defendants’ actions, Plaintiff's rights, as guaranteed

by the Fourteenth Amendment, were injured.
WHEREFORE Plaintiff prays for relief against all Defendants as set forth below.

SECOND CAUSE OF ACTION - 42 U.S.C. § 1983
DUE PROCESS -~ 14" AMENDMENT

27. Plaintiff incorporates by reference each of preceding paragraphs as if they had been fully
restated herein.

28. Sheriff Ashley made a knowingly false affidavit for the sole purpose of having Hinton arrested
and detained.

29. Sheriff Ashely’s actions violated Hinton’s rights under the 14° Amendment.

30. Sheriff Ashley caused Hinton to be falsely imprisoned.

WHEREFORE Plaintiff prays for relief against all Defendants as set forth below.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays that this Court:

1. Assume jurisdiction over this action;

2. Declare that Defendants’ actions, as herein described, violated Plaintiff's constitutional

rights under the Fourteenth Amendments to the United States Constitution

3. Appropriate equitable relief including but not limited to prospective injunctive relief,

declaratory and other injunctive remedies;

4, Award Plaintiff nominal and actual damages for Defendants violation of their

constitutional and statutory rights;
5. Award Plaintiff compensatory damages, including, but not limited to, those for past and

future pecuniary and non-pecuniary losses, emotional distress, suffering, loss of reputation,

Page 4 of 5
Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 7 of 13

humiliation, inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary
losses;

6. Punitive damages for all claims allowed by law in an amount to be determined at trial;

7. Pre-judgment and post-judgment interest at the highest lawful rate;

8. Award Plaintiff his costs of litigation, including reasonable attorney’s fees and expenses,
pursuant to 42 U.S.C. sec. 1988 and/or 20 U.S.C. sec. 1400 et seq.; and

9. Grant such other relief to which Plaintiff may be entitled or as this Court deems

necessary and proper.

RESPECTFULLY SUBMITTED this the 5 day of f 4 fa ®, 2020.

SHELTON HINTON

L YW MIDE, MSE 03543

Daniel M. Waide, (MSB#103543)
Johnson, Ratliff & Waide, PLLC
1300 Harpy ST.

PO Box 17738

HATTIESBURG, MS 39404
601-582-4553 (OFFICE)
601-582-4556 (FAX)
dwaide@jhriaw. net

Page 5 of 5
Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 8 of 13

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Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 9 of 13

COVER SHEET Court Identification Case Year Decket Number
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in ike of Courts: (Revised 1/1/2001) This area to be co ted by dak ase Number ff tiled prior to 1/1/84

INTHE CIRCUIT, ss COURT OF WAYNE { COUNTY
Short Style of Case: _Hi y. Wayne C : _
Party Fiing initial Pleading: Type/Print Name _Daniel M, Waide 4 MS Bar Ka 103543
Check () f Not an Attorney —_ Check (} if Pro Hac Vice Signature_ 4 ay
Compensatory Damages Sought: $ Punitive Damages Sought $ A yn ZL
hit Su; ad in this suit? Yi if “yes” is checked.*p pies a. LORRI id Support
is: ipport contemplated as an issue in this sui ‘es No information Sheet with Final Des etree
PLAINTIFE - PARTY((ES) INITIALLY BRINGING SUIT SHOULD BE ENTERED FIRST (FIRST NAME IN SHORT STYLE) - ENTER ADDITIONAL PLANTIFFSC ON SEPARATE FORM
Individual _Hinton Shelton
LastName Firet Name Maiden Name, # Applicable Middle Int JOGHAILAV
Address of Plaintiff _
Check (/) ff Individual Plaintiff is acting in capacity as Executor (trix) or Administrator(trix) of an Estate, and enter style:
Estate of
Check (“) € Individual Plaintiff is acting in capacity as Business Owner/Operator (d/b/a) or State Agency, and enter entity:
O/BIA / Agency
Business

Emer legal name of business, corporation, partnership, agency - if Corporation, indicate state where incorporated
Check (/) if Business Plaintiff is filing suit in the name of an entity other than the above, and enter below.
pi

DEFENDANT - NAME OF DEFENDANT (FIRST NAME IN SHORT STYLE) ~ ENTER ADDITIONAL DEFENDANTS ON SEPARATE FORM

Individual ( )
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Business Wayne County, Mississippi
Enter legal name of Hp, agency - if Corporation, indicate state where incorporated
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ATTORNEY FOR THIS DEFENDANT: BarNo. or Name: Pro Hae Vice {/)___
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in feft hand column, check one (1) box that best describes Probate Children and Minors - Non-Domestic
the nature of this suit, in right hand column check aif Accounting (Probate) Adoption - Noncontested
boxes which indicate secondary claims. Buth Certificate Correction Consent to Abortion for Minor
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IN THE CIRCUIT Court of WAYNE County, Mississippi

JupiciaAt District, City oF

Docket No. - Docket No. If Filed
File Yt Chronological No. Clerk's Local ID Prior to 1/1/94

DEFENDANTS IN REFERENCED CAUSE - Page 1 of __. Defendants Pages
IN ADDITION TO DEFENDANT SHOWN ON CIVIL CASE FILING FORM COVER SHEET

Defendant #2:

individual: Ashley Jody ( )
Cast Name First Name “Maiden Name, if Applicable Middle Trt. TSiiiv—

___Check (-’) if Individual Defendant is acting in capacity as Executor(trix) or Administrator(trix) of an Estate, and enter style:
Estate of
___Check (/) if Individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that nama betow:
D/B/A

Business

Enter fegal name ef business, corporation, partnership, agency - If Corporation, indicate state where incorporated
__Check (/) if Business Defendant is being sured in the name of an entity other than the name above, and enter below:

D/B/A

ATTORNEY FOR THIS OEFENDANT: Bar # or Name: Pro Hac Vice (/)___ Not an Attorney(“)__.

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Defendant #3:

individual: _— ¢ . —— )— a
Last Name First Name Maiden Name, if Applicable Middle tnt. JeiSritltay

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DIBIA

Business

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ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hae Vice (“}___ Not an Attorney(”)___
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Defendant #4:

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individual Tae Nare Prat NaS macernemeTapmame ) Mase «=| FSV
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___ Check () if individual Defendant is acting in capacity as Business Owner/Operator (D/B/A) or State Agency, and enter that name below:

DIBIA
Business

Enter legal name of business, corporation, partnership, agency - [f Corporation, indicate state where incorporated
___Check (”} if Business Defendant is being sued in the name of an entity other than the above, and enter below:
O/BIA

ATTORNEY FOR THIS DEFENDANT: Bar # or Name: Pro Hac Vice (/)__ Not an Attomey(/)
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Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 11 of 13

IN THE CIRCUIT COURT OF WAYNE COUNTY, MISSISSIPPI

SHELTON HINTON PLAINTIFF

yz CIVIL ACTION NO.: WW- 10 y )- | |H- b

WAYNE COUNTY, MISSISSIPPI and

SHERIFF JODY ASHLEY in his individual

and official capacity DEFENDANTS
SUMMONS

THE STATE OF MISSISSIPPI
COUNTY OF WAYNE

Jody Ashley
613 Court Street
Waynesboro, MS 39367

*

THE COMPLAINT, WHICH IS ATTACHED TO THIS SUMMONS, IS IMPORTANT AND YOU
MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS.

You are required to mail or hand deliver a copy of a written response to the Complaint to Daniel
M. Waide, P.O. Box 17738, Hattiesburg, MS 30404, attomey for the Plaintiffs. Your response to the
Complaint must be mailed or delivered within 30 days from the date of delivery of this Summons and
Complaint or a judgment by default will be entered against you for the money or other things demanded in
the Complaint. You must also file the original of your response with the Clerk of this Court within a
reasonable time afterward.

Issued under my hand and seal of said Court, this \) of August, 2020.

Rose M. Bingham,
WAYNE COUNTY CIRCUIT CLERK

By, D.C.
Daniel M. Waide, (MSB#103543)
1300 Harpy ST.
PO Box 17738
HATTIESBURG, MS 39404
601-582-4553 (OFFICE)
601-582-4556 (FAX)
dwaide@jhrlaw.net

Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 12 of 13

IN THE CIRCUIT COURT OF WAYNE COUNTY, MISSISSIPPI

SHELTON HINTON PLAINTIFF

v. cia action no. N-7020-|4 ¢

WAYNE COUNTY, MISSISSIPPI and
SHERIFF JODY ASHLEY in his individual
and official capacity DEFENDANTS

SUMMONS

THE STATE OF MISSISSIPPI
COUNTY OF WAYNE

Wayne County, Mississippi
609 Azalea Drive
Waynesboro, MS 39367

TO:

THE COMPLAINT, WHICH IS ATTACHED TO THIS SUMMONS, IS IMPORTANT AND YOU
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Issued under my hand and seal of said Court, this \O¥4, of August, 2020.

Rose M. Bingham,
WAYNE COUNTY CIRCUIT CLERK

Daniel M. Waide, (MSB#103543)
1300 Harpy ST. pet segs

PO Box 17738 Be en
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601-582-4553 (OFFICE) es @ Bigs
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dwaide@jhrlaw.net Wc the
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Case 2:20-cv-00186-TBM-MTP Document 2 Filed 10/06/20 Page 13 of 13

JOHNSON, RATLIFF & WAIDE, PLLC

Attorneys at Law
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Great Southern National Bank Building
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Hattiesburg, MS 39401

Telephone: (601) 582-4553
Telefax: (601) 582-4556

E-Mail: dwaide@ihriaw.net
brichards@djhriaw.net

S. Joel Johnson
Michael V. Ratliff P. O. Box 17738

Daniel M. Waide Hattiesburg, MS 39404-7738

August 7, 2020

Rose M. Bingham

Wayne County Circuit Clerk
609 Azalea Drive
Waynesboro, MS 39367

RE: Shelton Hinton v. Wayne County, et al

Dear Ms. Bingham,

Please find enclosed for filing herein, the following documents:

e Civil Cover Sheet;

e Complaint for Shelton Hinton v. Wayne County, et al and One Copy;
e Wayne County Summons;

e Jody Ashley Summons; and

© Check No. 1441 in the amount of $160.00 for the filing fee

Please file the original in your customary manner and return the file stamped copy to me, along
with the issued summons, in the self-addressed, stamped envelope enclosed herein.

With kindest regards, I am

Paralegal to Daniel M. Waide, Esq.

encl.
